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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LOUIS AGRE, et al.                                  CIVIL ACTION

        v.                                           NO. 17-4392

 THOMAS W. WOLF, Governor of
 Pennsylvania, ROBERT TORRES, Acting
 Secretary of State of Pennsylvania, JONATHAN
 MARKS, Commissioner of the Bureau of
 Elections – in their official capacities.

             ORDER RE: MOTION TO DISMISS AMENDED COMPLAINT

BEFORE: Smith, Chief Circuit Judge; Shwartz, Circuit Judge; Baylson, District Judge:

       On November 7, 2017, we granted in part and denied in part the Legislative Defendants’

Motion to Dismiss. ECF 74. The Motion to Dismiss was denied as to Count I (Privileges and

Immunities Clause and Elections Clause), granted with prejudice as to Count II (Equal Protection

Clause and Elections Clause), and granted without prejudice as to Count III (First Amendment

and Elections Clause). Id.

       The Plaintiffs were granted leave to amend their complaint, including to re-plead the First

Amendment count with greater specificity. ECF 74. As explained in the November 7th Order,

and elaborated on in a Statement of Reasons that followed, the First Amendment count did not

adequately allege a connection between the First Amendment and the Elections Clause. Id.; ECF

83 at 3. The Court expressed its confusion as to how the Elections Clause may be used to

“enforce’” the First Amendment, as the Plaintiffs argued. ECF 83 at 3. And the Court found the

factual basis for the harm allegedly suffered to be insufficient. Id. Nonetheless, because the

First Amendment count presented possible contentions that could yet be legally plausible, the

dismissal was without prejudice. Id.
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       The Court’s admonition was clear—for this claim to proceed, specific allegations

showing a connection between the Elections Clause and the Freedom of Speech Clause in the

First Amendment was necessary. ECF 83 at 3-4.

       On November 17, 2017, the Plaintiffs timely filed their Amended Complaint. ECF 88.

On November 22, 2017, the Executive Defendants Answered and the Legislative Defendants

filed a Motion to Dismiss the Amended Complaint. ECF 109 and 108. Upon review of the

foregoing, as well as the Plaintiffs’ Response in Opposition, ECF 133, the Court will GRANT,

with prejudice, the Motion to Dismiss as to Count II, for failure to state a claim. As to Count I

and the other grounds asserted for dismissal, including on standing and those raised in the

Supplemental Memorandum, ECF 124, the Motion to Dismiss will be DENIED.

       The Court again applies the well-known standard for deciding Rule 12(b)(6) motions,

which requires the Court to accept as true the well-pleaded factual allegations, together with all

inferences favorable to the Plaintiffs. Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009); Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 555-57 (2007); Warren Gen. Hosp. v. Amgen Inc., 643

F.3d 77, 84 (3d Cir. 2011). In its previous ruling, the Court dismissed the Equal Protection claim

based upon the Plaintiffs’ failure to comply with Supreme Court guidance on partisan

gerrymandering claims under that clause. ECF 83 at 2-3 (citing Davis v. Bandemer, 478 U.S.

109 (1986); Vieth v. Jubelirer, 541 U.S. 267 (2004); and League of United Latin Am. Citizens v.

Perry, 548 U.S. 399 (2006)). While the Supreme Court has yet to agree upon a standard under

the Fourteenth Amendment, the Plaintiffs’ hybrid Elections Clause theory adds confusion rather

than clarity. Id. at 3. The Court held, therefore, that the Plaintiffs failed in the Complaint to

articulate an Equal Protection theory on which relief could be granted. Id.




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       The Supreme Court has also spoken, albeit through separate opinions, on partisan

gerrymandering claims under the First Amendment. For example, in Vieth, Justice Kennedy

proposed that “[t]he First Amendment may be the more relevant constitutional provision in

future cases that allege unconstitutional partisan gerrymandering.” 541 U.S. at 314 (Kennedy, J.,

concurring in the judgment). He explained that such allegations “involve the First Amendment

interest of not burdening or penalizing citizens because of their participation in the electoral

process, their voting history, their association with a political party, or their expression of

political views.” Id. (citing Elrod v. Burns, 427 U.S. 347 (1976) (plurality opinion)). Justice

Kennedy proposed that the inquiry would focus not on whether political classifications were

considered, but on “whether political classifications were used to burden a group’s

representational rights.” Id. at 315. He cautioned, however, that such an inquiry “depends first

on courts’ having available a manageable standard by which to measure the effect of the

apportionment and so to conclude that the State did impose a burden or restriction on the rights

of a party’s voters.” Id.

       Since Vieth was decided, at least one Court has adopted a First Amendment test

embracing Justice Kennedy’s proposal. For example, in Shapiro v. McManus, 203 F. Supp. 3d

579 (D. Md. 2016), the District Court permitted a district-specific partisan gerrymandering claim

to proceed on a retaliation theory. Id. at 585-86; 596-99. The pleadings in Shapiro alleged

retaliation and provided very specific facts in support of the claim. See id. at 599 (discussing

allegation of the Legislature’s intent to punish the Plaintiffs for engaging in protected activity)

(citing Second Amended Complaint ¶ 7(a)); id. at 588 (discussing allegation that a long-time

incumbent’s share of the vote “dropp[ed] from 61.45% to 37.9% in a single election cycle”

following the alleged gerrymander) (quoting Second Amended Complaint ¶ 86)).



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       Despite Plaintiffs’ assertions in their opposition brief, ECF 133 at 9, the Amended

Complaint does not embrace a First Amendment theory of the kind contemplated by Justice

Kennedy or adopted by the Shapiro Court.             The Amended Complaint does not mention

retaliation, it does not propose any manner of measuring the effect of the apportionment, and it

provides little to no factual allegations supporting an injury under the First Amendment. To be

sure, nothing requires the Plaintiffs to adopt Justice Kennedy’s or the Shapiro Court’s theories.

But by invoking the First Amendment, with its rich history and abundant caselaw, the Plaintiffs

must present a plausible theory. They have not done so.

       Despite a second bite at the apple, the Amended Complaint fails to clarify the alleged

connection between the First Amendment and the Elections Clause. As with the previously-

raised Equal Protection count, the renewed First Amendment count remains a novel and hybrid

claim that does not clearly articulate a legitimate theory on which relief can be granted.

Accordingly, this action will proceed to trial on Count I only.

       IT IS THEREFORE NOW on this 30th day of November, 2017, ORDERED that the

Motion to Dismiss the Amended Complaint, ECF 108, is GRANTED in part and DENIED in

part, as follows:

       1.      Count II of the Amended Complaint, ECF 88, is DISMISSED, with prejudice.

       2.      Any further relief is DENIED.



                                              BY THE COURT:

                                              s/D. Brooks Smith
11/30/2017
                                              D. BROOKS SMITH
                                              Chief United States Circuit Judge




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